Exhibit A
•_!:_~2570 (F~rm 2 570 -   Shtpoent1 to ~-:--•~~ .. ~:.?.£~;;2•!ts~ hf-Jrmation~-.x Object$ or To Pc:1n it lnspection in a Bankruptcy Case or Adversary Proceeding) ( 12/15)

                                               l.JNITED STATES BA1'1"KRUPTCY COURT
                               Southern District                                         District 0f                                  California
                                                                                                          -------------------------
1n re                      DOM[ Publicatic-ns, LLC
          ------------------------
                                             Debtor
                                                                                                  Case No. 20-10250-btb (Bankr. D. Nev.)
             (Complete if issued in an adversary proceeding)
                                                                                                  Chapter - -7- - - -
                                            Plaintiff
                                                V.
                                                                                                   Adv. Proc. No.
                                           Defendant

            SUBPOENA TO PRODUCE DOCUMENTS, INFORlVIATION, OR OBJECTS OR TO PERMIT
            INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)
   To:          Georgr Rikos: and the                    L2\V   Offices of George Rikos
                                                                     {Name ofperson to whom the subpoena is directed)

   i5ll Prod,icnDn: YOD AR£ CG;.vD,iANDED to produce at the tlm,;;, date, and p!ace set forth below the following
   d.oct:.met,is, eiec1-rc:1i::2)lv .:-:ors:d infc.·mation, or o!~jects. :::.nd to p.:;r,,1it insp~e-tion., copying, testing, or sampling of the
   rnater"lal:
                                            sec attached.
  - - - - - - -·--------·-------                         ·- - -· -- - -----------------------~-
   "LACE                                 :_;ilf~·ror:f fI.::iEler Sharp, LLP                                                    I PA TE AND TIME
                                         ;:;;5 W. Broadway, Ste_ !700,                                                          • M
                                                                                                                                  1    lI   ,o-A
                                                                                                                                               7     9 AM
    --·-- ------- ·-·------ >n DieJw, CA 92~!=0~1_____ --------·-----·- ---------- -~l~_ "_·Y_ ·_·_,·_~_-_r_J_a_t _ _-'_ ··_ _ _ _ __
          /;;_1-pqc:riD,, uj'i',,·e,n:!s·;.e;: TOU AI'LE COMM_ANOEfJ :0 p,_;rmit e,itry ::,ntc !\~ designated premises, land, or
   '.:,::•:.:· ;JW} len:• ii<,iSe~,!,f:d or c:ontroHed by you at the tii::,0, datv, and l.ccati::: ~ set. [()[th below, so that the requesting party
   .,iny lihpect, rn.e&s~tre, survey, photograph, test, or sample the propdcy or s_ny dtsi.gnaied objeci or operation on it.
                                                                                                                                 DATE AND TIME

    - ~ - - - - - - - - - ---. - ' ,. ·- .. ----------·. ----·-' -·----------·- --·-·-·- -·- ·-
                                                     ,                                                                ., - ..   ·-·--· ----- - - - - - - - - - - - - - - - - -


           The folk,w L,g ;,;-.::,vis-\::<..s. 0f Ft--;d. R. Civ. P . .:!S, m,1Ge :;;plicar:1 .. ;,, ban'--ruptcy ;:2.ses by Fed. R. Bankr. P. 9016, are
   attached - RuI:: 45(c), ;;:]:1:ir:c. t,) Th$ pkce of ,.:;cn,?,li2..u:c:;; P_uL i5(d)            :tht, '.,, you;- protection as a person subject to a
                                                                                                   0


   subpoena; and Ru,c 45(c) ZLnJ /5(~),rc!ating w ye:~,, z' · 10 ,-':. nns! :-_ • • st1r:,:_:.,::;tna and the potential consequences ofnm
   doing so.
               !-\pril. 27) 2020.
    Date:




   - - - - - - - - - - · - · - - - - ---------------- - - -                  -----·· --- - - - - -
   The name, address, en1;c,1 J add:cs:c:. :,_nd te1ephone !1;_:rnbzr of fr.: : z.nc:-rE,,y i·epreser,ting (name c!fparty)
        Creditors Jane Dt1es 1-22        -~- ., ~;;/ho issues r.-;r requ~~sts th)~~ sabp:.-:tna~ are~ .
      Edward D. Chapin. 655 \V. Brnadway,Ste. 1700, S,m,Di,;;go, CA (_('.\: , . t:Ch'1pin2@sanfordheisler.com. 619-577-4253
                                                         Notice to the Pt'tso.: who issues m- reQi.H:osts thfa suh9nena
    ff this subpoena commands                  the
                                    p~·od~cilon of So~umerrts, 'e1ect;:onically;l6~ed information, or tangible things, or the
    inspection of premises before n-iaJ, a;1otice and a cop}; oftl~i ~:' si.1bpocna r~~st be s,ivd on each party before it is served on
    fo e person to whom it is direc~,;<L I<xl. [;. Civ. P. 45(-2)(4).
B2570 (Form 2570 - Subpoena to Produce Documents, lnforr:1ation, ori)bjects or -,-e tn,pedb:", in a Bankruptcy Case or Adversary Proceed ing) (Page 2)
¥            , . ..xuama .  W·FWifU¾i?A;~~~ J J - - i 0 , l - . < : -..~-:~~-~~r~~..~wmmmwtClM& .                                             ~.x.,    m   JJtU>



                                                                    PROO]? OF SERVICE
                      (This section should not be fi!ed with the wm-r unless required by Fed. R. Civ. P. 45.)

l received this subpoena for(nqme of individual and title, ffany):---'--'--~--'-~----------------
on (date) _ _ __


D I served the subpoena by delivering a copy to the named person as follows: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

- - - - - - - - - - - - ~____ on(date) _ _ _ _ _ _ _ _ _ ;or

D l returned the subpoena unexecuted because:


Unless the subpoena was iss1,1ed on behalfof the United States, or one of its.officers or agents, I have also tendered to the
witness the fees for one day's attendance, and the mileage aJlowed by law, in the arnount of $ _ _ _ _ _ _ _ _ _ __

 M.v fees are$ - - - - - for travel and$- - - - - for services, for atotal or'$- - - - -

          I declare under penalty of perjury that this information is trn~ <lf?.d corr:ect.
                                     . .... . -,-.._-:: __.,..- _
                                            -




Date:

                                                                                                           ·. Sen,er 's sigi1at11re


                                                                                                           Printed name and title




                                                                                                              Server's address



Additional information concerning attempted service, etc.:
B2570 (Form 2570     Subpoena to Produce Documents, Information, or Objects or To Pennir Inspection in a Bank-ntptcy Case or Adversary Proceeding) (Page 3)


                            Federai Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

 (c) Place of compliance.                                                                     (if) disclosing an unretained expert's opinion or information that does
                                                                                        not describe specific occun-ences in dispute and results from the expert's
  (I) For a Trial. Hearing, or Deposition. A subpoena may command a                     study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                           (Cj Spec[fj,ing Conditions as an Alternative. In the circumstimces
    (A) within l 00 miles of where the person resides, is employed. or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                              modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, .is employed, or regularly           conditions if the serving party:
transacts business in person, if the person                                                    (i) shows a substantial need for the testimony or material that cannot
      ( i) is a party or a party's officer; or                                          be otherwise met v-ithout undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                      (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                                compensated. :· ·

  (2) For Other Discovery. A subpoena may command:                                      (e) Duties in Responding to a Subpoena.
    (A) production of documents, or elecrronically stored infommtion, or
things at a place within I00 miles of where the person resides; is employed,              (I) Producing Documents or Electronically Stored Information. ·n1ese
or regularly transacts business in person; and                                          procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                        inforn1ation:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                                 (A) Documents. A person responding to a subpoena to produce
                                                                                        documents must produce them as they are kept in the ordinary course of
      (I) Avoiding Undue Burden or Expense: Sanctions. A party or                       business or must organize and label them to correspond to the categories in
                                                                                        the demand.
attorney responsible for issuing and serving a subpoena must take
reasonable steps to avoid imposing w1.due burden or expense on a person                     (Bj Form/or Producing Electronically Stored Information Not
subject to the subpoena. The court for the district where compliance is                 Specified If a subpoena does not specify a form for producing
                                                                                        electronically stored information, the person responding must produce it in
reqi1ired must enforce this duty and impose an appropriate sanction -
                                                                                        a form or fonns in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees - on a
                                                                                        usable form or fom1s.
party or attorney who fails to comply.
                                                                                            (Cj Electronically Stored information Produced in Only One Form. 'TI1e
                                                                                        person responding need not produce the same electronically stored
   (2j Command to Produce A/Qlerials or Permit Inspection
                                                                                        information in more than one fo1m.
     (.4) Appearance Not Required .A person commanded to produce
                                                                                            (Dj Inoccessible Electronically Stored Information. The person
documents, electronically stored infom1ation, or tangible things, or to
                                                                                        responding need not provide disc-0very of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                        from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition.
hearing, or trial.                                                                      of undue burden or cost. On motion to compel discovery or for a protective
                                                                                        order. the person responding must show that the information is not
     (B) Objections. A person commanded to produce documents or tangible
                                                                                        reasonably ac<::essible because of undue burden or cost. lfthat showing is
things or to permit inspection may serve on ihe party or attorney designated
                                                                                        made, the· court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                        requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises - or to
                                                                                        26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
"flic objection must be served before the earlier of the time specified for
                                                                                           (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made.
                                                                                             (4) Information Withheld A person withholding subpoenaed
the following rules apply:
                                                                                        information under a claim that it is privileged or subject to protection as
        (i) At any time. on notice to the commanded person, the serving party
                                                                                        trial-prepamtion material must:
mav move the court for the district where compliance is required for aTJ
                                                                                               (i) expressly make the claim; and
order compelling production or inspection.
                                                                                               (ii) describe the nature of the withheld document,. communications,
        (ii) These acts may be required only as directed in the order. and the
                                                                                        or tangible things in a manner that, without revealing i.nfonnation itself
order must protect a person who is neither a party nor a party's officer from
                                                                                        privileged or protected, will enable the parties to assess the claim..
significant expense resulting from compliance.
                                                                                             (Bj h/formation Produced ff information produced in response to a
                                                                                        subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modijj;ing a Subpoena.
                                                                                        preparation material, tl1e person making the claim may notify any _party that
    (A} When Requn-ed On timely motion, the court for the district where
                                                                                        received the infom1ation of the c.laim and the basis for it. After bemg
compliance is required must quash or modiJY a subpoena that:
                                                                                        notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                        inforn1ation and any copies it has; must not use or disclose the inforniation
      (ii) requires a person to comply beyond the geographical limits
                                                                                        until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);                                                 .
                                                                                        information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, 1fno
exception or waiver applies; or
                                                                                        prompily present the information under seal  m    the court for_ the_ district
                                                                                        where compliance is required for a determmat10n of the clann. flie person
      (iv) subjects a person to undue burden.
                                                                                        who produced the information must preserve the infonnation until the claim
    (B) When Permitted To protect a person st1bject to or a11ected by a
                                                                                        is resolved.
subpoena, the court for the district where compliance is required may. on
motion. quash or modify the subpoena if it requires:
      (i) disclosing a trade seL,et or other confidential research,
                                                                                        (g) Contempt. The court for the district where compliance is required··· and
                                                                                        also, aJter a motion is transferred, the issuing court - may hold in contempt
development, or commercial infonnation; or
                                                                                        a person who, having been served, fails without adequate excuse to obey
                                                                                        the subpoena or an order related to it


                                          For access to subpoena materials; see Fed. R Civ. P. 45{a) Committee Note (2013)
                                         DEFINITIONS

1. YOU and/or YOUR. This term means George D. Rikos, the Law Office(s) of George D.
Rikos, and any of its agents, representatives, and/or attorneys.

2. DOMI and/or DOMI'S. This term means Domi Publications, LLC, and any of its agents,
representatives, and/or attorneys.

3. COMMUNICATIONS. This term means oral and written communications made or
attempted by any means, including, without limitation, by telephone, e-mail, text-message,
iMessage, online messaging application, memorandum, letter, written or voice message,
telegram, telex, facsimile, or in person or in any other instance in which information was or is
transmitted from one PERSON to another through any means whatsoever, together with all
documents on which such communications are recorded, memorialized, summarized, or
described. This term includes but is not limited to, those COMMUNICATIONS between and/or
among: YOU, DOMI, Douglas Wiederhold, Michael Pratt, Clyde DeWitt, Aaron Sadock, Daniel
Kaplan, Matthew Zirzow, Ryan Somavia, Noam Glick, Matthew Wolfe, or any of the above
individual or entities' agents, representatives, or attorneys.

4. DOCUMENTS. This term means any kind of printed, recorded written, graphic,
photographic, magnetic, or electronic matter (including, without limitation, audio, video, digital,
or electronic recordation, such as computer memories, tapes, discs, and any other material for
computer use), however printed, produced, reproduced, coded, or stored, of any kind or
description, regarding of author or original and whether or not sent or received, including
originals, copies, reproductions, facsimiles, drafts, and both sides thereof.

5. WIEDERHOLD ENTITIES. This term means Outlier Productions, LLC, Free Spirit Partners,
LLC, DWRS Marketing, . LLC, Las Vegas Cybernet Power Marketing, LLC, Mind Matrix
Ventures, LLC, and/or Rare Man Apparel, LLC.

6. STATE COURT ACTION. This term means the three consolidated cases, Jane Does Nos. 1 -
22 v. GirlsDoPorn.com, et al. in San Diego Superior Court (Case Nos. 37-2016-00019027-CU-
FR-CTL, 37-2017-00033321-CU-FR-CTL, 37-2017-00043712-CU-FR-CTL) and the appellate
case pending before the California 4 th District Court of Appeal, Division 1 (Case No. D074514).

                                   DOCUMENT REQUESTS

1.      All DOCUMENTS and COMMlJNICATIONS (including those on which YOU were
cc' d or copied or otherwise received, even if you did not take part in the substantive discussion)
in YOUR possession, custody or control regarding or related to the following topics:

       a.    Jane Doe Nos. 1-22 settlement offers and Cal. Code Civ. Proc. § 998 offers in the
             STATE COURT ACTION;

        b.   The transfer of Michael Pratt's interest in DOMI to Douglas Wiederhold and/or
             DOMI;

        c.   Financial transfers from DOMI to Douglas Wiederhold, Ryan Somavia, Michael
             Pratt, Matthew Wolfe, their agents, representatives, or attorneys, and/or any entities
           owned, partially owned, controlled or partially controlled by Wiederhold, Somavia,
           Pratt, and/or Wolfe, directly or indirtctly;

      d.   Financial transfers from DOMI and/or Douglas Wiederhold to the WIEDERHOLD
           ENTITIES, directly or indirectly;

      e.   The amount, payment, reduction, increase, or collection of YOUR legal fees and costs in
           representing DOMI in the STATE COURT ACTION;

      f.   Financial transfers to the WIEDERHOLD ENTITIES between and/or among:
           Douglas Wiederhold, Pratt, Matthew Wolfe, Ryan Somavia and/or their agents,
           representatives, or attorneys; and     ·

      g.   The testimony or prospective testimony of any MomPOV.com model, including but
           not limited to Tara Bums and Nicole Doucette, in the trial of the STATE COURT
           ACTION;

      h.   YOUR legal strategy representing DOMI in the STATE COURT ACTION; and

      1.   DOMI'S consideration of and/or filing of bankruptcy.

2.  All YOUR invoices and accounting records for legal services and costs in the STATE
COURT ACTION.

3.     YOUR retainer agreement and any amendments or modifications thereto with DOMI
and/or Douglas Wiederhold for the STATE COURT ACTION.

4.   All conflict waivers signed by any person or entity relating to YOUR services in the
STATE COURT ACTION.

5.     DOMI'S and/or Douglas Wiederhold' s joint defense or similar agreement with other
defendants in the STATE COURT ACTION.

6.     All YOUR COMMUNICATIONS with Lawrence G. Walters and/or Walters Law Group
regarding their testimony and expert costs in the STATE COURT ACTION.

7.    All COMMUNICATIONS between YOU and Noam Glick, Daniel Kaplan, or Aaron
Sadock regarding YOU representing DOMI in in the STATE COURT ACTION.
B2540 (Form 2540 - Subpoena for Rule 2004 Examination)\ i2il 5)

                                    lJNITED STATES Bi\NKRUPTCY COURT
                                                                                             California
- - - - - -Southern
            - - - -District
                    - - - - - - - - - District of - - - ~ - - - - - - - - - - - - - - - - -

In re _ _ _ _D_O_M_._I_Pu_b_li_ca_t_io_n_s_,L_L_C_ _ _ _ __            ,.., N o. 20-10250-btb {Bankr. D. Nev.)
                                                                       ,~ase,
                                                                                ----------
                              Debtor
                                                                       Chapter _ _ _7_ __



                                            SUBPOENA FOR RULE 2004 EXAMINATION
        George Rikos and the Law Offices of George Rikos
To:
      ------------------,---------------------------
                     (Name ofperson to whom the subpoena is directed)


~ Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at an examination
under Rule 2004, Federal Rules of Bankruptcy Procedure. A copy of the court order authorizing the examination is attached.
PLACE                                                                                  DATE AND TfME
                   Sanford Heisler Sharp, LLP
                                                                                                 May I l, 2020 at 9 A.M
                   655 W. Broadway, Ste. 1700. San Diego, CA 92101




The examination will be recorded by this method: __._v1_·d_e_o_a_n_d_s_te_n_o_g_ra_p_h_ic_m_e_an_s_._ _ _ _ _ _ _ _ _ _ _ _ __

•         Production: You, or your representatives, must also bring with you to the examination the following docwnents,
      electronically stored information, or objects, and must pennit inspection, copying, testing, or sampling of the material:




        The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
attached - Rule 45(c ), relating to the place of compliance; Ruie 45(d), relating to your protection as a person subject to a
subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
doing so.

Date: April 27, 2020
                                  CLERK OF COURT

                                                                       OR

                                  Signature of Clerk or Depury Clerk



The name, address, email address, and telephone number of the attorney representing (name ofparty)
 Creditors Jane Does l-22          , who issues or requests this subpoena, are:

       Edward D . Chapin. 655 W. Broadway, Ste. 1700, San Diego, CA 92101. echapin2@sanfordheisler.com. 619-577-4253


                                 Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
the person to whom it is <;!irected. Fed. R. Civ. P. 45(a)(4).
B2540 (form 2540 - Subpoena for Rule 2004 Examination) {Page 2)
m_gzw              ~·- ,, ;;;;:a "                      L ., t    Ji ,, • l<tl.~!J!ll!$lll!rn!                            mmew


                                                             PROOF OF SERV1CE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any):
0 n (date) _ _ _ __
                                                                     ----------------------

D I served the subpoena by delivering a copy to the named person as follows: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ on (date) _ _ _ _ _ _ _ _ _ ; or


0   I returned the subpoena unexecuted because: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day's attendance, and the mileage allowed by law, in the amount of $ _ _ _ _ _ _ _ _ _ __

 My fees are $ _ _ _ _ for travel and $_ _ _ _ for services, for a total of$_ _ __


          .I declare under penalty of perjury that this infonnation is true and correct.

Date:

                                                                                                  Server's signature


                                                                                                 Printed name and title




                                                                                                   Server 's address


Additional infonnation concerning attempted service, etc.:
!32540 (Form 2540 - Subpoena for Rule 2004 Exan1ination) (Page 3)


                             Federal Rule of Civil Procedure 45(c), (ci), (e), and (g) (Effective 12/1/13)
                         (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)
 (c) Place of com p!iance.                                                                    (ii) disclosing an unretained expen's opinion or information that does
                                                                                        not describe specific occurrences in dispute and results from the expert's
  (I) For a Trial. Hearing, or Deposition. A subpoena may command a                     study that was not requested by a party.
person to attend a trial. hearing, or deposition only as follows:                           (C) Specifying Conditions as an Alternative. In the circtunstanct-'S
    (A) within l 00 miles of where the person resides, is employed, or                  described in Ruic 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                              modi1Ying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly            conditions if the serving party:
transacts business in person, if the person                                                    (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a paity's ofiic~r; or                                           be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                      (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                                compensated.

  (2) For Other Discovery. A subpoena may command:                                      (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within I 00 miles of where the person resides, is employed,             (I) Producing Documents or Efectronicalzv Stored Information. These
or regularly transacts business in person: and                                          procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                        information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                                 (4j Documents. A person responding to a subpoena to produce
                                                                                        documents must produce them as they are kept in the ordinaty course of
      (/) Avoiding Undue Burden or fapense: Sanctions. A party or                       business or must organize and label them to correspond to the categories in
attorney responsible for issuing and serving a subpoena must take                       the demand.
reasonable steps to avoid imposing undue burden or expense on a person                     (B) Form for Producing Eleclronically Stored Jnjormation Not
subject to the sttbpoena. The court for the distiict where compliance is                Spec/fied If a subpoena does not specify a form for producing
required must enforce this duty and impose an appropriate sanction -                    electronically stored information, the person responding must produce it in
which may include lost earnings and reasonable attorney's fees - on a                   a form or fo;,_ns in which it is ordinai·ily maintained or in a reasonably
party or attorney who fails to comply.                                                  usable fonn or forins.
                                                                                            (C) £/ectronicallv Siored /"!formation Produced in Only One Form. ·n1e
  (2) Command to Produce Materials or Permit lnspectioll.                               person responding need not produce the·same e.lectronically stored
    (1j Appearance Not Required A person commanded to produce
                                                                                        infonnation in more than one form.
                                                                                            (D) Inaccessible Electronically Stored f,iformation. TI1e person
documents, electronically stored infonuation. or tangible things, or to
pemiit the inspection of premises, need not appear in person at the place of            responding need not provide discovery of electronically stored information
production or inspection unless also commanded to appear for a deposition,              from sources that the person identifies as not reasonably accessible because
hearing, or trial.                                                                      of undue burden or cost. On motion to compel discovery or for a protective
     (B) Objectim1s. A person commanded to produce documents or tangible
                                                                                        order, the person responding must show that the information is not
things or to pem1it inspection may serve on the party or attorney designated            reasonably accessible because ofundue burden or cost. If that showing is
in the subpoena a written objection to inspecting, copying, testing or                  made, the· court may nonetheless order discovery from such sources if the
sampling any or all of the materials or to inspecting the premises - or to              requesting party shows good cause, considering the limitations of Rule
                                                                                        26(b)(2)(C). The court ma)i specify conditions for the discovery.
producino electronicallv stored infom1atio11 in the form or forms requested.
T11e obje~tion must be ;erved before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A.) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                        infonnation under a claim that it is privileged or subject to protection as
       (i) At any time, on notice to the commanded person, the serving party
                                                                                        trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                               (i) expressly make the claim; and
order compelling production or inspection.
                                                                                               (ii) describe the nature of the withheld documents. communications,
       ( ii) These acts mav be required only as directed in the ordeL and the
                                                                                        or tangible things in a manner that, ,~ithout revealing informahon itself
order must protect a pe:Son who is neither a pruty nor a party's officer from
                                                                                        privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                             (Bj !t!formation Produced. If information produced in response to a
                                                                                        subpoena is subject to a claim of privilege or of protection as trml-
  (3) Quashing or Mod/(j;ing a Subpoena.
                                                                                        prepararion material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                        received the information of the claim at1d the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                        notified, a paity must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                        infom1ation and any copies it has; must not use or disclose the infonnation
      (ii) requires a person to comply beyond tlie geographical limits
                                                                                        until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);                                                  .             information if the party disclosed it before being notified; and may
      (iii) requires ctisclosure of privileged or other protected matter, rf no         promptly present the information under seal to the court for the district
exception or waiver applies: or                                                         where compliance is required for a determination of the claim. The person
      ( iv) subjects a person to undue burden.                                          who produced the infomiation must preserve the information unlll the claim
   (B) When Permitted To protec.,1 a person subject to or affected by a
                                                                                        is resolved.
subpoena, the court for \lie district where compliance is required may, on
motion, quash or modify the subpoena ifit requires:                                     (~)Contempt.The coun for the district where compliance is required -· and
      (i) disclosing a trade secret or other confidential research,
                                                                                        also, after a motion is transferred, the issuing court- may hold in contempt
development, or commercial infonnation; or                                              a person who, having been served, fails without adequaie excuse to obey
                                                                                        the subpoena or an order related to it


                                           For access to subpoena materials, see Fed. R Civ. P. 45(a) Committee Note (2013)
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                                                              -BA'-""-'- 1~~
                                                           Honorable Bruce T. Beesley
                                                          United States Bankruptcy Judge
      Entered on Docket
      April 13, 2020




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     Facsimile:    (619) 696-7124
 8   Email: jcawdrey@grsm.com

 9   Attorneys for Creditors
     Jane Does Nos. I through 22
10
                             UNITED STATES BANKRUPTCY COURT
Ii                                  DISTRICT OF NEVADA

12   In Re                                                } CASE NO . 20-10250-btb
                                                          )
l3   DOM.I PUBLlCA TIONS, LLC,                            ) Chapter 7
                                                          \
                                                          J
14                                 Debtor,                )    ORDER GRANTING EX PARTE
                                                          )    MOTION FOR RULE 2004
15                                                        )    EXAMINATION OF GEORGE
                                                          )    RIKOS AND THE LAW OFFICES
16                                                        )    OF GEORGE RIKOS
                                                          )
17

18           The Court having reviewed the Ex Parte Motion For 2004 Examination of George Rikos
19   and the Law Offices of George Rikos ("Motion") filed by creditors Jane Does l through 22 (the
20   "Jane Does"), by and through its counsel ofrecord Robert S. Larsen and Jeffrey D. Cawdrey of
21   the law firm Gordon Rees Scully Mansuhkani, LLP, and for good cause appearing:
22           IT IS HEREBY ORDERED that the Motion is GRANTED.
23           IT IS FURTHER ORDERED that George Rikos and the Law Offices of George
24   Rikos shall appear for an examination under oath before a certified court reporter at a time,
25   place, and date to be mutually agreed upon by the parties, or if no such agreement is reached,


                                                   -1 -
            Case 20--10250-btb       Doc 70     Entered 04/13/20 14:51:23        Page 2 of 4




     upon no less than fourteen (14) calendar days' written notice by the Jane Does, pursuant to

 2   FED. R. BANKR. P. 2004, and relating to the acts, conduct, property, liabilities, and financial

 3   condition of the Debtor; as to any matter which may affect the administration of the Debtor's

 4   estate; and as to any matter permitted by FED. R. BANKR. P. 2004, including but not limited to

 5   the matters specifically enumerated in the Motion.

 6          IT IS FURTHER ORDERED that oral examination shall continue from day to day, as

 7   necessary until completed.

 8          IT IS SO ORDERED.
 9

lO   Prepared and submitted by:

11   Robert S. Larsen (Bar No. 7785)
     GORDON REES SCULLY MANSUKHANI LLP
12   300 S. 4th Street, Suite 1550
     Las Vegas, NV 89101
13

14   Jeffrey D. Cawdrey (CA BN 120488)
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15   IOI West Broadway, Suite 2000
     San Diego, CA 921 0 I
16
     Attorneys for Jane Does 1 through 22
17

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                                                   . 2.
28
       case 20-10250-btb             Doc 70   Entered 04/13/20 14:51:23        Page 3 of 4




                                       CERTIFICATE OF SERVICE

       I. On April 6, 2020 I served the following document(s) (specify):

                    EX PARTE MOTION FOR RULE 2004 EXAMINATION OF
                  GEORGE RIKOS AND THE LAW OFFICES OF GEORGE RIKOS

        2.        I served the above-named document(s) by the following means to the persons as
listed below:

       • a.       ECF System

        LENARD E. SCHWARTZER, trustee@s-mlaw.com; lbenson@s-mlaw.com;
jelliott@s-mlaw.com; nv 17@ecfcbis.com; clea 11 (a),trustesolutions.net; les@trustesolutions.net

       U.S. TRUSTEE- LV -7, USTPRegionl 7.LV.ECF@usdoj.gov

       MATTHEW C. ZIRZOW on behalf of Debtor DOMI PUBLICATIONS, LLC,
mzirzow@lzkclaw.com; carey@.lzkclaw.com; trish@lzkclaw.com; sara@lzkclaw.com;
carita@lzkclaw.com

           b.     United States mail, postage fully prepaid

       DOM! Publications, LLC
       10620 So. Highlands Pkwy., #110-334
       Las Vegas, NV 89141

       :::- c.    Personal Service

       1 personally delivered the document(s) to the persons at these addresses:

        For a party represented by an attorney, delivery was made by handing the document(s) to
the attorney or by leaving the documents(s) at the attorney's office with a clerk or other person in
charge, or if no one is in charge by leaving the documents(s) in a conspicuous place in the office.

       For a party, delivery was made by handing the document(s) to the party or by leaving the
document(s) at the person's dwelling house or usual place of abode with someone of suitable age
and discretion residing there.

        :::- d.   By direct email (as opposed to through the ECF System)

        Based upon the written agreement of the parties to accept service by email or a court
order, l caused the docurnent(s) to be sent to the persons at the email addresses listed below. I did
not receive, within a reasonable time after the transmission, any electronic message or other
indication that the transmission was unsuccessful.
            case 20-10250-btb          Doc 70    Entered 04/13/20 14:51:23          Page 4 of 4
'·




               e.   By fax transmission

             Based upon the written agreement of the parties to accept service by fax transmission or a
     court order, I faxed the document(s) to the persons at the fax numbers listed below. No error was
     reported by the fax machine that I used. A copy of the record of the fax transmission is attached.

             - f.   By messenger

            I served the document(s) by placing them in an envelope or package addressed to the
     persons at the addresses listed below and providing them to a messenger for service.

            I declare under penalty of perjury that the foregoing is true and correct.

            Signed on April 6, 2020:

            Gayle Angulo                                  Isl Gayle Angulo
            (NAME OF DECLARANT)                           (SIGNATURE OF DECLARANT)
Exhibit B
                                     MILBERG         &    DE     PHILLIPS
                                             A PROFESSIONAL CORPORATION

                                                ATTORNEYS AT LAW
FREDERIC J. MILBERG                         2163 NEWCASTLE AVENUE                               (760) 943-7103
RUSSELL M. DE PHILLIPS
                                                    SUITE 200                                    (619) 232-7103
ROY L. CARLSON, JR.
                                         CARDIFF BY THE SEA, CALIFORNIA                       FAX (760) 943-6750
                                                   92007-1824                                  www.m-dlaw.com

                                                April 28, 2020

  Via U.S. Mail and electronic mail to Trustee@S-MLaw.com
  Lenard E. Schwartzer
  Federal Bankruptcy Trustee
  2850 S. Jones Blvd., Suite I
  Las Vegas, Nevada 89146

           Re: In re DOMI PUBLICATIONS, LLC
               United States Bankruptcy Court, District of Nevada
               Case No. 20-10250-btb

                Jane Does 1-22, et al v. GIRSLDOPORN.COM. et al
                Superior Court of California, County of San Diego
                Lead Case No. 37-2016-000190027-CU-FR-CTL

                Doe, et al v. GIRSLDOPORN.COM, et al
                California Court of Appeal, Fourth Appellate District, Division 1
                Case No. D074514

  Dear Trustee Schwartzer:

          We represent George Rikos, attorney ofrecord for DOMI PUBLICATIONS, LLC ("DOMI") in
  Jane Does 1-22, et al v. GIRSLDOPORN.COM, et al (the "Trial Case") and in Doe, et al v.
  GIRSLDOPORN.COM, et al (the "Appeal"), both referenced above. As Chapter 7 Trustee ofDOMI,
  you have not instructed Mr. Rikos to perform any legal services for you in the Trial Case or in the
  Appeal. Nor have you provided Mr. Rikos any direction whatsoever in this regard. Two months ago,
  Mr. Rikos asked you to agree to relief from the stay so he could file a motion to be relieved as counsel
  for DOMI. You refused unless he spent considerable time and expense to provide you with records
  which you may obtain more easily from DOMI. On April 27, 2020, Judge Enright issued his Statement
  of Decision in the Trial Case. Mr. Rikos will take no action in the Trial Case unless he receives specific
  written instructions from you. Thank you.

                                                   Very truly yours,




  RMD/mec
  cc: Client
Exhibit C
     In The Superior Court Of The State Of California

               In And For The County Of San Diego

          Department 73 ; Hon. JOEL WOHLFEIL, Judge



JANE DOE NOS. 1-14,                  )
                                     )
                      Plaintiff,     )
                                     )
               vs.                   ) Case No. 37-2016-00019027
                                     )          CU-FR-CTL
GIRLSDOPORN . COM                    )
                                     )

__________________    Defendants .   )
                                     )



                     REPORTER's TRANSCRIPT

                        OCTOBER 31, 2018

Appearances:

For the Plaintiff:        The Holm Law Group
                          12636 High Bluff Drive
                          San Diego, California 92130
                          Brian Holm , ESQ.

                          O'Brien Law Firm
                          750 B Street, #1610
                          San Diego, California 92101
                          John O'Brien, ESQ .

For the Defendants:       Panakos Law Center
                          555 West Broadway, #500
                          San Diego, California 92101
                          Aaron Sadock, ESQ.

                          Law Offices of Daniel Kaplan
                          555 West Beech Street, Ste. 230
                          San Diego, California 92101
                          Alexandra Byler, ESQ.

                          Law Office of George Rikos
                          225 Broadway , #2100
                          San Diego, California 92101
                          George Rikos , ESQ.

                          Sanford Heisler Sharp LLP
                          655 W. Broadway, #1700
                          San Diego, California 92101
                          Edward Chapin, ESQ.




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                                         ~ OF COURT REPORTERS
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                                         PHONE 855.525.3860      I 323.938.8750
 1        In The Superior Court Of The State Of California

 2                   In And For The County Of San Diego

 3             Department 73 ; Hon . JOEL WOHLFEIL , Judge

 4

 5   JANE DOE NOS . 1-14 ,                )
                                          )
 6                           Plaintiff,   )
                                          )
 7                   vs .                 ) Case No . 37-2016-00019027
                                          )           CU-FR-CTL
 8   GIRLSDOPORN.COM                      )
                                          )
 9
     _________________
               Defendants .               )
                                          )
10

11                          REPORTER's TRANSCRIPT

12                             OCTOBER 31 , 2018

13   Appearances :

14   For the Plaintiff:          The Holm Law Group
                                 12636 High Bluff Drive
15                               San Diego, California 92130
                                 Brian Holm, ESQ.
16
                                 O'Brien Law Firm
17                               750 B Street, # 1 610
                                 San Diego , California 92101
18                               John O'Brien , ESQ .

19   For the Defen dants :       Panakos Law Center
                                 555 West Broadway , #500
20                               San Diego , California 92101
                                 Aaron Sadock, ESQ.
21
                                 Law Offices of Daniel Kaplan
22                               555 West Beech Street, Ste. 230
                                 San Diego, California 92101
23                               Alexandra Byler , ESQ .

24                               Law Office of George Rikos
                                 225 Broadway , #2100
25                               San Diego , California 92101
                                 George Rikos, ESQ.
26
                                 Sanford Heisler Sharp LLP
27                               655 W. Broadway , #1700
                                 San Diego , California 92101
28                               Edward Chapin , ESQ .
                                                        2


 1

 2   Darla Kmety, RPR, CSR 12956
       Official Court Reporter
 3     San Diego Superior Court
     San Diego, California 92101
 4

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 1   motion -- regardless , though , whether it's meritorious or
 2   not, the SLAPP motion has continued for as long as that
 3   one was without the moving party getting to a hearing
 4   date .
 5                 That may reflect upon the court .               You all have
 6   heard me try to balance the respective needs and interests
 7   of your clients , and that was the end result .                    But I'm not
 8   inclined to continue the motion for summary judgment and
 9   put the parties in the same position with respect to that
10   motion as the court ultimately did with the SLAPP motion.
11                 I agree with counsel for the moving party , they
12   are entitled to a ruling .            And I'm not pre-judging
13   anything.       I've got a much better idea of what the claims
14   and defenses are at this point than I was a year ago when
15   you first walked into my department.                  But I need to look
16   at the specific evidence that is filed in support of , or
17   in opposition of the motion , and determine whether there
18   are triable issues of material fact.
19                 So the application to continue the hearing on a
20   motion for summary judgment because of Mr. Stevens or
21   Mr . Pratt is denied.          I'm not persuaded that in this case
22   plaintiffs have shown good cause .
23                 Now, I want to circle back to -- I guess I
24   missed that in the papers -- ~about t h ~ _desire :eY)
25   pl_ai:ntiffs ...~o t~ke 't;l?,~d epo,e_4 iop ..£( _:g ppo"ef.~ri,g C9,,E,~1).
26   And there may be a difference of opinion among my
27   colleagues and I.          I doubt there ' s a whole lot of
28   disagreement .       But 'I c_an not b~gin      tq_empha ~ize- lio~

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                                                                     t h'.~:Jaw'y ~
      9                                                               Now, having said that, for one reason or
 10                     another, it has occurred to the court that more                                                                                            one or
 11                    more · of the lawyers involved in this case have · become
 12                    invested.                                        I'm not going to speculate on why one or more
 13                    lawyers may have become as invested in this case as you
 14                    have.
15                                                                    In the court's experience, when lawyers become
16                     as invested personally and emotionally in the cases, as
17                    one or more of you have in this case , invariably there is
18                    what I call collateral damage to lawyers.                                                                             ~          j,J¥,Ji'f..~Rci)

20                    single one of you know exactly what I'm talking about.
21                                                            Iii~ ;;, .,H~"qii~t · 'to                       ta~   ·o EEo·s}.E.ci) ::$ ~
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                                                                       ,f·2_,i ,J~J1... Y. '"(p~ffids ~; ,g,,s • .d~Qi~q.), much less as a basis
23                    to continue defendant's motion for summary judgment .
24                                                               All right .                              Let me go back to plaintiff's side .
25                    Is there any issues that we ' ve missed that we still need
26                    to address?
27                                                               MR. HOLM :                          I just want to make sure this court
28                   is preemptively denying any request by any of the parties


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 1   STATE OF CALIFORNIA

 2   COUNTY OF SAN DIEGO

 3

 4

 5              I , Darla Kmety, Court-Approved Official Pro Tern

 6   Reporter for the Superior Court of the State of

 7   California, in and for the County of San Diego , do hereby

 8   certify:

 9

10              That as such reporter, I reported in machine

11   shorthand the proceedings held in the foregoing case;

12

13              That my notes were transcribed into typewriting

14   under my direction and the proceedings held on

15   October 31, 2018, contained within pages 1 through 55 are

16   a true and correct transcription.

17

18

19              This 19th day of November, 2018.

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